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 1                                              THE HONORABLE JOHN C. COUGHENOUR

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 7                           UNITED STATES DISTRICT COURT
 8
                           WESTERN DISTRICT OF WASHINGTON
 9
                                        AT SEATTLE
10

11   JERRY ADAMSKY, on behalf of her minor
     child, LESLIE BERRY, on behalf of her
12   minor child, VALERIE BERTHELOT, on
     behalf of her minor child, DESIREE
13   BLACKBURN, on behalf of her minor child,
     JENNIFER BOIT, on behalf of her minor        Case No.: 2:19-cv-01214-JCC
14   child, JULIE BROWN, on behalf of her
     minor child, SARAH CHARACTER, on             STIPULATED MOTION TO STAY
15   behalf of her minor child, LINDSAY           DEFENDANTS’ RESPONSE TO
     COLON, on behalf of her minor child,         PLAINTIFFS’ COMPLAINT AND
16   KRISTI FINLEY, on behalf of her minor        [PROPOSED] ORDER
     child, CHRISTINA GARDNER, on behalf of
17   her minor child, TARA GRAY, on behalf of     NOTE ON MOTION CALENDAR:
     her minor child, SHANE HOWARD, on            September 26, 2019
18   behalf of his minor child, JENNIFER
     LEFLORE, on behalf of her minor child,
19   ANDRA LOGAN, on behalf of her minor
     child, JENNIFER MAURER, on behalf of
20   her minor child, MONICA MENDEZ, on
     behalf of her minor child, ERICA MOORE,
21   on behalf of her minor child, BRANDIE
     MORGAN, on behalf of her minor child,
22   SAYUJ PAUDEL, on behalf of her minor
     child, TARA PITTMAN, on behalf of her
23   minor child, LYNDI REICHENBACH, on
     behalf of her minor child, CRYSTAL
24   SEGURA, on behalf of her minor child,
     TIFFANY SEVCIK, on behalf of her minor
25   child, BREANNA SIMPSON, on behalf of
     her minor child, GARY STANGO, JR., on
26   behalf of his minor child, NYKITA STEEN,
     on behalf of her minor child, MEGAN
27   TAYLOR, on behalf of her minor child,
     MARQUITA TUCKER, on behalf of her
28   minor child, MARK WADE, on behalf of his
     STIPULATED MOTION TO STAY DEFS’            -1-                   FENWICK & WEST LLP
                                                                     1191 SECOND AVENUE, 10TH FLOOR
     RESPONSE TO COMPLAINT                                             SEATTLE, WASHINGTON 98101
     CASE NO.: 2:19-CV-01214-JCC                                        TELEPHONE: 206-389-4510
                 Case 2:19-cv-01214-JCC Document 31 Filed 09/26/19 Page 2 of 6



 1   minor child, ALLISON WINSKE, on behalf
     of her minor child, JESSICA XAGORARIS,
 2   on behalf of her minor child, PATRICK
     YOCKEY, on behalf of his minor child, and
 3   ROBERT YOUNG, on behalf of his minor
     child, individually and on behalf of all others
 4   similarly situated,

 5                       Plaintiffs,

 6           v.

 7   AMAZON.COM, INC., a Delaware
     corporation, and A2Z DEVELOPMENT
 8   CENTER, INC., a Delaware corporation,

 9                       Defendants.

10

11                                            STIPULATION

12          Plaintiffs Jerry Adamsky, Leslie Berry, Valerie Berthelot, Desiree Blackburn, Jennifer

13 Boit, Julie Brown, Sarah Character, Lindsay Colon, Kristi Finley, Christina Gardner, Tara Gray,

14 Shane Howard, Jennifer Leflore, Andra Logan, Jennifer Maurer, Monica Mendez, Erica Moore,

15 Brandie Morgan, Sayuj Paudel, Tara Pittman, Lyndi Reichenbach, Crystal Segura, Tiffany

16 Sevcik, Breanna Simpson, Gary Stango, Jr., Nykita Steen, Megan Taylor, Marquita Tucker,

17 Mark Wade, Allison Winske, Jessica Xagoraris, Patrick Yockey, and Robert Young, on behalf of

18 their minor children, individually and on behalf of all others similarly situated (“Plaintiffs”), and

19 Defendants Amazon.com, Inc. and a2z Development Center, Inc. (collectively, “Defendants”)

20 jointly move to stay the date by which Defendants must respond to Plaintiffs’ complaint (Dkt.

21 No. 1). In support of this request, the Parties state as follows:

22          1.       On August 2, 2019, Plaintiffs filed a class action complaint against Defendants.

23 Dkt. No. 1. On August 21, 2019, the Parties filed a stipulated motion for extension of time to

24 respond to the complaint until October 7, 2019. Dkt. No. 23. On August 27, 2019, the Court

25 granted the stipulated motion for an extension of time to respond to the complaint until October

26 7, 2019. Dkt. No. 30.

27          2.       The Parties have agreed to stay the responsive pleading date, including a potential

28 motion to compel arbitration, until 30 days after a determination on the motion to compel
   STIPULATED MOTION TO STAY DEFS’                 -2-                       FENWICK & WEST LLP
                                                                              1191 SECOND AVENUE, 10TH FLOOR
     RESPONSE TO COMPLAINT                                                      SEATTLE, WASHINGTON 98101
     CASE NO.: 2:19-CV-01214-JCC                                                 TELEPHONE: 206-389-4510
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 1 arbitration in the related case, B.F. and A.A., minors, by and through their guardian Joey Fields,

 2 et al. v. Amazon.com, Inc., et al., United States District Court for the Western District of

 3 Washington, Case No. 2:19-cv-910-RAJ-MLP. The parties further agree to continue the

 4 deadline to exchange initial disclosures until 14 days after Defendants file their responsive

 5 pleading in this action.

 6          3.       The Parties further agree, subject to the Court’s approval, to postpone the status

 7 conference scheduled for November 12, 2019, Dkt. 10, until a date to be determined by the Court

 8 after Defendants’ deadline to file their response to Plaintiffs’ Complaint.

 9          4.       Pursuant to LR 23, the Parties further agree, subject to the Court’s approval, good

10 cause exists to extend the time in which Plaintiffs shall move for a determination under Fed. R.

11 Civ. P. 23(c)(1) to a date to be determined by the Court in a future scheduling order.

12          NOW, THEREFORE, the Parties stipulate and request the Court to stay Defendants’

13 deadline to file a response to Plaintiffs’ complaint, including a potential motion to compel

14 arbitration, until 30 days after a determination of the motion to compel arbitration in B.F. and

15 A.A., minors, by and through their guardian Joey Fields, et al. v. Amazon.com, Inc., et al.,

16 United States District Court for the Western District of Washington, Case No. 2:19-cv-910-RAJ-

17 MLP. The deadline for the parties to exchange initial disclosures shall be continued to 14 days

18 after Amazon files its responsive pleading in this action.

19          Dated this 26th day of September, 2019.

20
                                                   Respectfully submitted,
21
                                                   By: s/ Jeffrey A. Ware
22                                                     Jeffrey A. Ware, WSBA No. 43779
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27                                                     Tyler G. Newby (pro hac vice)
                                                       Molly R. Melcher (pro hac vice)
28                                                     Armen N. Nercessian (pro hac vice)
     STIPULATED MOTION TO STAY DEFS’                  -3-                    FENWICK & WEST LLP
                                                                               1191 SECOND AVENUE, 10TH FLOOR
     RESPONSE TO COMPLAINT                                                       SEATTLE, WASHINGTON 98101
     CASE NO.: 2:19-CV-01214-JCC                                                  TELEPHONE: 206-389-4510
             Case 2:19-cv-01214-JCC Document 31 Filed 09/26/19 Page 4 of 6



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 8                                          Attorneys for Defendants
                                            AMAZON.COM, INC. and
 9                                          A2Z DEVELOPMENT CENTER, INC.

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     STIPULATED MOTION TO STAY DEFS’      -4-                      FENWICK & WEST LLP
                                                                  1191 SECOND AVENUE, 10TH FLOOR
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              Case 2:19-cv-01214-JCC Document 31 Filed 09/26/19 Page 5 of 6



 1                                       [PROPOSED] ORDER

 2          Pursuant to the Parties’ stipulated request for such relief, the deadline for Defendants to

 3 respond to Plaintiffs’ complaint is stayed until 30 days after a determination of the motion to

 4 compel arbitration pending in B.F. and A.A., minors, by and through their guardian Joey Fields,

 5 et al. v. Amazon.com, Inc., et al., United States District Court for the Western District of

 6 Washington, Case No. 2:19-cv-910-RAJ-MLP. The deadline for the parties to exchange initial

 7 disclosures is continued to 14 days after Defendants file their responsive pleading in this action.

 8 The status conference scheduled for November 12, 2019, Dkt. 10, is postponed until a date after

 9 Defendants’ deadline to file their response to Plaintiffs’ Complaint to be determined by the

10 Court. Pursuant to LR 23, good cause exists to extend the time in which Plaintiffs shall move for

11 a determination under Fed. R. Civ. P. 23(c)(1) to a date to be determined by the Court in a future

12 scheduling order.

13          IT IS SO ORDERED.

14 DATED this __________ day of __________, 2019.

15

16                                                ________________________________________
                                                  THE HONORABLE JOHN C. COUGHENOUR
17

18 Presented by:

19 FENWICK & WEST LLP

20

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     STIPULATED MOTION TO STAY DEFS’                 -5-                        FENWICK & WEST LLP
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              Case 2:19-cv-01214-JCC Document 31 Filed 09/26/19 Page 6 of 6



 1                                  CERTIFICATE OF SERVICE

 2          I, Jeffrey A. Ware, hereby certify that on September 26, 2019, I caused the foregoing

 3 STIPULATED MOTION TO STAY DEFENDANTS’ RESPONSE TO PLAINTIFFS’

 4 COMPLAINT AND [PROPOSED] ORDER to be served on the following parties as indicated

 5 below:

 6     Matthew J. Ide, WSBA No. 26002                     [ ]   By United States Mail
       IDE LAW OFFICE                                     [ ]   By Legal Messenger
 7     7900 SE 28th Street, Suite 500                     [X]   By Electronic CM/ECF
       Seattle, WA 98040                                  [ ]   By Overnight Express Mail
 8     Tel.: 206.625.1326                                 [ ]   By Facsimile
       Fax: 206.622.0909                                  [ ]   By Email [by agreement of counsel]
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19
       Attorneys for Plaintiffs and the Proposed
20     Classes
21
     Dated: September 26, 2019                     By: s/ Jeffrey A. Ware
22                                                    For Jeffrey A. Ware, WSBA No. 43779
                                                      FENWICK & WEST LLP
23

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28
     STIPULATED MOTION TO STAY DEFS’                -6-                       FENWICK & WEST LLP
                                                                             1191 SECOND AVENUE, 10TH FLOOR
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